Case 2:22-cv-00223-Z Document 1-3 Filed 11/18/22   Page 1 of 5 PageID 151




                   Exhibit 2
                Bill Analysis, C.S.H.B. 3446,
                       Committee Report
11/9/22, 11:03 AM                                      84(R) HB 3446 - Committee Report (Substituted) version - Bill Analysis

Case 2:22-cv-00223-Z Document 1-3 Filed 11/18/22                                                          Page 2 of 5 PageID 152

                                                                   BILL ANALYSIS



                                                                                                               C.S.H.B. 3446
                                                                                                              By: Laubenberg
                                                                                                                  State Affairs
                                                                                                 Committee Report (Substituted)



               BACKGROUND AND PURPOSE

               Human trafficking, child pornography, and international sex tourism reportedly generate billions
               of dollars a year worldwide and there are indications that a significant number of U.S. citizens
               and foreign nationals are trafficked within the borders of the United States. Texas law already
               requires certain places of business to post signs that are visible to employees and patrons that
               provide a toll-free phone number for a national human trafficking helpline. It has been noted,
               however, that there is no law requiring these postings at an abortion facility despite the fact that
               many of the women who undergo abortions may be victims of human trafficking, especially sex
               trafficking. Due to the potentially high number of trafficking victims who undergo abortion
               procedures, abortion facility employees are uniquely situated to identify and assist victims of sex
               trafficking. C.S.H.B. 3446 seeks to require signs relating to human trafficking to be displayed at
               certain abortion facilities.

               CRIMINAL JUSTICE IMPACT

               It is the committee's opinion that this bill does not expressly create a criminal offense, increase
               the punishment for an existing criminal offense or category of offenses, or change the eligibility
               of a person for community supervision, parole, or mandatory supervision.

               RULEMAKING AUTHORITY

               It is the committee's opinion that rulemaking authority is expressly granted to the executive
               commissioner of the Health and Human Services Commission in SECTION 1 of this bill.

               ANALYSIS

               C.S.H.B. 3446 amends the Health and Safety Code to require a licensed ambulatory surgical
               center that performs more than 50 abortions in any 12-month period or a licensed abortion
               facility to conspicuously display in each patient admission area, waiting room, restroom, and
               patient consulting room signs that contain a phone number for the Department of Public Safety
               and a toll-free phone number of a nationally recognized information and referral hotline for
               victims of human trafficking, as well as the following information: a woman cannot be forced to
               have an abortion against her will, regardless of her age; if a woman is being forced to have an
               abortion or being abused, the state is able to help the woman; and human trafficking, including
               sex trafficking, is a violation of state law. The bill prohibits the signs from containing any
               information other than that information and prescribes the required sign measurements. The bill
               requires an applicable center or facility to post a sign in English and a sign in Spanish, as well as
               any other language in which the political subdivision within which the facility is located is
               required under the Election Code to provide election materials, if applicable. The bill requires
               the executive commissioner of the Health and Human Services Commission, not later than
               December 1, 2015, to adopt rules as necessary to implement and enforce the bill's provisions and
               establishes that an ambulatory surgical center or abortion facility is not required to comply with
               the bill's provisions before January 1, 2016.

               EFFECTIVE DATE

               September 1, 2015.

               COMPARISON OF ORIGINAL AND SUBSTITUTE

               While C.S.H.B. 3446 may differ from the original in minor or nonsubstantive ways, the
               following comparison is organized and formatted in a manner that indicates the substantial
               differences between the introduced and committee substitute versions of the bill.



                                                                                                                                  EX. 2 pg.01
https://capitol.texas.gov/tlodocs/84R/analysis/html/HB03446H.htm                                                                       1/4
11/9/22, 11:03 AM                                      84(R) HB 3446 - Committee Report (Substituted) version - Bill Analysis

Case 2:22-cv-00223-Z Document 1-3 Filed 11/18/22                                                          Page 3 of 5 PageID 153


                                    INTRODUCED                                      HOUSE COMMITTEE SUBSTITUTE
               SECTION 1. Subchapter B, Chapter 171,                               SECTION 1. Subchapter B, Chapter 171,
               Health and Safety Code, is amended by                               Health and Safety Code, is amended by
               adding Sections 171.0125 and 171.0126 to                            adding Section 171.0125 to read as follows:
               read as follows:
               Sec. 171.0125. REQUIRED SIGNS AT                                    Sec. 171.0125. REQUIRED SIGNS AT
               CERTAIN FACILITIES: AVAILABLE                                       CERTAIN FACILITIES: AVAILABLE
               RESOURCES. (a) An ambulatory surgical                               RESOURCES. (a) An ambulatory surgical
               center licensed under Chapter 243 that                              center licensed under Chapter 243 that
               performs more than 50 abortions in any 12-                          performs more than 50 abortions in any 12-
               month period or an abortion facility licensed                       month period or an abortion facility
               under Chapter 245 shall conspicuously                               licensed under Chapter 245 shall
               display a sign that satisfies the requirements                      conspicuously display signs that satisfy the
               of this section in each patient admission area,                     requirements of this section in each patient
               waiting room, and patient consulting room.                          admission area, waiting room, restroom,
                                                                                   and patient consulting room.
               (b) The sign required by this section must be                       (b) The signs required by this section must
               in English and Spanish and display the                              contain the following information:
               following text:
               You can't be forced. No one can make you                            (1) a woman cannot be forced to have an
               have an abortion against your will, even if                         abortion against her will, regardless of her
               you are a minor. In fact, forcing a minor to                        age;
               have an abortion is considered child abuse. If                      (2) if a woman is being forced to have an
               you are a minor being forced into making a                          abortion or being abused, the state is able to
               particular decision, you can report it by                           help the woman; and
               calling the Texas Abuse Hotline at 1-800-                           (3)     human trafficking, including sex
               252-5400. The call is free and the hotline                          trafficking, is a violation of state law.
               operates 24 hours per day, 365 days per year.
               You and the father. The father of your child
               must provide support for the child, even if he
               has offered to pay for an abortion. The Child
               Support Division of the Office of the
               Attorney General can help you locate your
               child's father and determine that he is the
               father. The Child Support Division can also
               help establish and enforce child support
               orders and collect money owed, as well as
               distribute child support payments. To learn
               more about child support services, call the
               Child Support Division at (512) 460-6000.
               You and adoption. The law allows adoptive
               parents to pay costs of prenatal care,
               childbirth, and newborn care. To learn more
               about     adoption     services    and     the
               organizations available to assist you, call
               Woman's Right to Know at (512) 776-6917.
               You are not alone. Many agencies are willing
               to help you carry your child to term and to
               assist you after your child's birth. This
               includes providing access to health care
               services for mother and baby, supplies,
               healthy food items, nutrition education, and
               in-home support.
                                                                                   (c) The signs required by this section must
                                                                                   also contain a phone number for the
                                                                                   Department of Public Safety and a toll-free
                                                                                   phone number of a nationally recognized
                                                                                   information and referral hotline for victims
                                                                                   of human trafficking.
                                                                                   (d) The signs required by this section may
                                                                                   not contain any information other than the
                                                                                   information described by Subsections (b)
                                                                                   and (c).




                                                                                                                                    EX. 2 pg.02
https://capitol.texas.gov/tlodocs/84R/analysis/html/HB03446H.htm                                                                         2/4
11/9/22, 11:03 AM                                      84(R) HB 3446 - Committee Report (Substituted) version - Bill Analysis

Case 2:22-cv-00223-Z Document 1-3 Filed 11/18/22                                                          Page 4 of 5 PageID 154

                                    INTRODUCED                                     (e)
                                                                                    HOUSE
                                                                                        The signs
                                                                                              COMMITTEE
                                                                                                   required by
                                                                                                             SUBSTITUTE
                                                                                                               this section must
                                                                                   each be at least 11 inches in width and 17
                                                                                   inches in length.
                                                                                   (f) A facility described by Subsection (a)
               (See subsection (b) above.)                                         shall post a sign required by this section in
                                                                                   English and a sign in Spanish. If the
                                                                                   facility is located in a political subdivision
                                                                                   that is required to provide election
                                                                                   materials in a language other than English
                                                                                   or Spanish under Section 272.011, Election
                                                                                   Code, the facility shall also post a sign in
                                                                                   that language.
                                                                                   (g) The executive commissioner shall
               (c) The executive commissioner of the                               adopt rules as necessary to implement and
               Health and Human Services Commission                                enforce this section.
               shall adopt rules as necessary to implement
               and enforce this section.

               Sec. 171.0126. REQUIRED SIGNS AT
               CERTAIN          FACILITIES:        HUMAN
               TRAFFICKING.          (a)    An ambulatory
               surgical center licensed under Chapter 243
               that performs more than 50 abortions in any
               12-month period or an abortion facility
               licensed    under     Chapter    245      shall
               conspicuously display a sign that satisfies the
               requirements of this section in each patient
               admission area, waiting room, and patient
               consulting room.
               (b) The sign required by this section must be
               in English and Spanish and display the
               following text:
               WARNING: Being forced to engage in
               sexual activity or forced to obtain an
               abortion is illegal under Texas law. Call the
               national human trafficking hotline: 1-888-
               373-7888.
               (c) The executive commissioner of the
               Health and Human Services Commission
               shall adopt rules as necessary to implement
               and enforce this section.

               SECTION 2. Not later than December 1,                               SECTION 2. Not later than December 1,
               2015, the executive commissioner of the                             2015, the executive commissioner of the
               Health and Human Services Commission                                Health and Human Services Commission
               shall adopt the rules necessary to implement                        shall adopt the rules necessary to
               Sections 171.0125 and 171.0126, Health and                          implement Section 171.0125, Health and
               Safety Code, as added by this Act.                                  Safety Code, as added by this Act.

               SECTION 3. An ambulatory surgical center                            SECTION 3. An ambulatory surgical
               or abortion facility is not required to comply                      center or abortion facility is not required to
               with Sections 171.0125 and 171.0126,                                comply with Section 171.0125, Health and
               Health and Safety Code, as added by this                            Safety Code, as added by this Act, before
               Act, before January 1, 2016.                                        January 1, 2016.

               SECTION 4.         This Act takes effect                            SECTION 4. Same as introduced version.
               September 1, 2015.




                                                                                                                                    EX. 2 pg.03
https://capitol.texas.gov/tlodocs/84R/analysis/html/HB03446H.htm                                                                         3/4
11/9/22, 11:03 AM                                      84(R) HB 3446 - Committee Report (Substituted) version - Bill Analysis

Case 2:22-cv-00223-Z Document 1-3 Filed 11/18/22                                                          Page 5 of 5 PageID 155




                                                                                                                                EX. 2 pg.04
https://capitol.texas.gov/tlodocs/84R/analysis/html/HB03446H.htm                                                                     4/4
